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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                      DECISION AND ORDER
                                                                     12-CR-301-7S
AMY HOLLINGSWORTH,

                            Defendant.




          1.    On June 13, 2013, the Defendant entered into a written plea agreement

(Docket No. 63) and pled guilty to Count 1 of Indictment (Docket No. 1) charging a violation

of Title 18 U.S.C. § 371 (conspiracy to transport firearms purchased outside of state of

residency).

          2.    On June 13, 2013, the Honorable Leslie G. Foschio, United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 65)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4. This Court has carefully reviewed de novo Judge Foschio’s June 13, 2013,

Report and Recommendation, the plea agreement, the Indictment, and the applicable law.

Upon due consideration, this Court finds no legal or factual error in Judge Foschio’s Report

and Recommendation, and will accept Judge Foschio’s recommendation that Defendant’s

plea of guilty be accepted and that the Defendant be adjudicated guilty as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s June 13, 2013,

Report and Recommendation (Docket No. 65) in its entirety, including the authorities cited

and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Amy Hollingsworth, is accepted, and

she is now adjudged guilty of Title 18 U.S.C. § 371.

      SO ORDERED.


Dated: July 3, 2013
       Buffalo, New York


                                                     /s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                           Chief Judge
                                                   United States District Court




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